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                           U N ITED STATE S D ISTR ICT CO U R T
                           SOUTHERN DISTRICT O F FLO RIDA

                          Case N o.17.81370-CV -M 1D D LEBR OO K S

  ANDREW HODGES,an individual;
  V LAD IM IR CO OD ,an individual;
  GA U TAM DESA I,an individual' ,
  JOD Y PO W ELL,an individual;
  JEFFREY HEBERLING,an individual;
  SHAM M INABUKUM AR,an individual;and
  A N THO N Y SAJEW ICZ,an individual;

        Plaintiffs,


  M ONKEY CAPITAL,LLC,aDelawarelimited liabilitycompany;
  M ON KEY CA PITA L,IN C .,a foreign corporation;
  and DA N IEL H A RRISO N ,an individual;

        Defendants.


                      FINA L JU D G M EN T A W A RD IN G DA M A G ES

        THIS CAU SE isbefore the Courtfollow ing the O rderon Plaintiffs'M otion for Sum m ary

  Judgment,enteredFebruary8,2019.(DE 64).
        lpreviously granted finaldefaultjudgment againstDefendantsM ONKEY CAPITAL
 LLC and M ONKEY CAPITAL,INC.astotheclaimssetforth in theAmended Complaint(DE
 44),and 1held a hearing August24,2018 to determine the appropriatemeasureofcalculating
 damages.1thengranted summaryjudgmentin Plaintiffs'favorandagainstDefendantDANIEL
 HARRISON asto Counts 1,Il,IV ,V,and VlIlofthe Am ended Com plaint,and Plaintiffs'later

 voluntarilydismissedCounts111,V1,andVII.(DE 67).
       lprovided D efendant Harrison with an opportunity to presentto the Courtany evidenee

 or argum ent on the issue of dam ages on or by February 18,2019, how ever he has filed no

 statem ent regarding his position on the proposed dam ages calculations. Therefore, for the
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  reasons previously set forth on the record in this m atler, it is O R D ERED A N D AD JU D G ED

  that:

             Finaljudgmentis entered in favorofPlaintiffsANDREW HODGES,VLADIMIR
             COO D , G A UTA M D ESAI, JOD Y POW ELL, SH A M M I N A BU K U M A R, and

             A N TH ON Y SA JEW ICZ and against D efendantD AN IEL H A RRISON as to Counts

             1,l1,lV ,V and V 1I1ofthe A m ended Com plaint.

          2. Counts 111,V 1,and V I1ofthe Am ended Com plaintare D ISM ISSED .

             DefendantDANIEL HARRISON shallbejointly and severally indebted toPlaintiffs
             in the follow ing principalsum sasofJuly l3,2017:

              Name ofPlaintiff         Cryptocurrency                   Vplueof
                                    W rongfully Taken by            Cryptpcurrenty '
                                          Defendants             W rongfu'iIyTakenby
                                                                 Defendàùts($USDi1
              Andrew Hodges              50.003 bitcoin               $313,613.00
              Vladim irCood                30bitcoin                  $188,157.00
                Gautam Desai             9.64 bitcoin                 $60,461.02
                                    109,101.99 W avescoins           $289,241.00
                                   5,105.67 M obileGo coins            $933.78
                                                                  Total:$ 350,635.80
                Jody Powell                8.2 bitcoin                $52,429.50
                  Sham mi                  10bitcoin                  $62,718.90
                 N abukum ar
             Anthony Sajewicz             27.6bitcoin                 $173,104.00
                                          48Ether                     $21,101.42
                                      3,000 W avescoins                $7,953.33
                                                                   Total:$202,158.75
                                 TOTAL PRINCIPAL SUM                 $ 1,169,712.95



  1 V aluations w ere taken on July 13, 2017 from w ww .coinM arketcap.com , which takes the
  volum e weighted average of allprices reported at severaldozen cryptocurrency m arkets serving
  investors in the U nited States and abroad.
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           pluspre-judgmentinterestattheinterestrate setforth in Fla.Stat.j 55.03 from July
              13,2017 untilthe date ofthisJudgm ent,plus costs in the am ountof $475.00,plus

           post-judgmentinterestatthestatutory rateprescribed by28U.S.C.51961,forwhich
           sum letexecution issue forthw ith.

        4. This Courtreserves jurisdiction to enter further orders,judgments and relief as
           necessary to enforce this FinalJudgm ent.

           The Clerk ofCourtisdirected to CLOSE THIS CASE.

           A 11pending m otions are DEN IED A S M O O T.
        SIG N ED in Cham bersatW estPalm Beach, Palm Beach        nty,Florida,thi * day of

  February,2019.




                                             O N ALD M .M ID DLEBRO O K S
                                            UN ITED STATES D ISTRICT JU D GE


  Copiesto:

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